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United States Department of Justice
Office of the United States Trustee
1100 Commerce St. Room 976
Dallas, Texas 75242
(214) 767-8967

Lisa L. Lambert
Tx Bar. No. 11844250 (also NY)
Juliet Sarkessian
PA Bar No. 57872 (also NY)
for the United States Trustee

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


                                                         Chapter 11
In re:                                                   Case No. 21-30085-hdh11
NATIONAL RIFLE ASSOCIATION OF                            Jointly Administered
AMERICA and SEA GIRT LLC                                 Hearing Date: 2/24/2021
 Debtors.                                                Hearing Time: 2:00 p.m.



         U.S. TRUSTEE’S WITNESS AND EXHIBIT LIST FOR HEARING ON
  DEBTORS’ APPLICATION TO EMPLOY BREWER, ATTORNEYS & COUNSELORS AS
      SPECIAL COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION

TO THE HONORABLE HARLIN D. HALE,
UNITED STATES BANKRUPTCY JUDGE:

         The United States Trustee for Region 6 designates the following witnesses and exhibits for the

hearing on Debtors’ Application for Entry of Order Pursuant to sections 105 (a), 327(e), 329, and

1107(b) of the Bankruptcy Code Authorizing and Approving the Employment and Retention Effective

as of the Petition Date of Brewer, Attorneys & Counselors as Special Counsel for the Debtors and

Debtors in Possession:

                                                Witnesses

   1. William A. Brewer III of Brewer, Attorneys & Counselors;

   2. Michael J. Collins of Brewer, Attorneys & Counselors;
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      3. Carolyn Meadows of the National Rifle Association;

      4. John C. Frazer of the National Rifle Association;

      5. Wayne LaPierre of the National Rifle Association; and

      6. Any witness designated on another party’s witness list.

                                                   Exhibits

       Exhibit Identification                                             Exhibit   Offer   Admit
       Summons and Complaint in People of the State of New York v.          A
       The National Rifle Ass’n of Am., et al., Index No.
       451625/2020 (Sup. Ct. N.Y. Cnty.), NYSCEF Docket No. 1,
       filed Aug. 6, 2020

       Letter from Wayne LaPierre to NRA members and supporters             B
       dated Jan. 15, 2021

       Press Release of Jan.15, 2021                                        C

       Questions & Answers, www.nraforward.org                              D

       Memorandum Opinion and Order, D.I. 166 in National Rifle              E
       Ass’n of Am. v. Ackerman McQueen, Inc., et al., Case No.
       3:19-cv-2074 (N.D. Tex., Sept. 14, 2020)

       The National Rifle Ass’n of Am. v. North, 903843-20, 2020             F
       N.Y. Slip Op. 51109(U), 130 N.Y.S. 3d 925 (Table), 2020
       N.Y. Misc. LEXIS 6979, at * 8-9 (Sup. Ct. Albany Cnty, Oct.
       2, 2020)

       NRA IRS Form 990 for 2018 1                                          G

       NRA IRS Form 990 for 2019                                            H

       Statement of Financial Affairs of Debtor National Rifle               I
       Association of America filed in these cases on Feb. 15, 2021,
       at D.I. 162

       Defendant’s Answer to Amended Complaint in National Rifle             J
       Ass’n v. Oliver North, 903843-20 (Sup. Ct. Albany Cnty, Aug.
       31, 2020), NYSCEF Docket No. 41



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    The NRA’s IRS Form 990 for 2018 and 2019 are publicly available.
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Exhibits may be re-lettered if parties agree on summary table. The United States Trustee reserves the

right to supplement this list of witnesses and exhibits based on any additional information obtained

through discovery or other sources. The United States Trustee reserves the right to use any exhibit

designated on another party’s list. An exhibit binder will be provided at trial. The U.S. Trustee reserves

the right to call additional witnesses or introduce additional exhibits in rebuttal.

DATED: February 18, 2021                               Respectfully submitted,

                                                       WILLIAM T. NEARY
                                                       UNITED STATES TRUSTEE

                                                       By: /s/ Lisa L. Lambert
                                                       Lisa L. Lambert
                                                       Assistant U.S. Trustee - Dallas
                                                       Tx Bar No. 11844250 (also NY)
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                                                       1100 Commerce Street, Room 976
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                                                       Lisa.L.Lambert@usdoj.gov

                                                       By: /s/ Juliet Sarkessian
                                                       Juliet Sarkessian
                                                       Trial Attorney
                                                       PA Bar No. 57873 (also NY)
                                                       Office of the United States Trustee
                                                       J. Caleb Boggs Federal Building
                                                       844 King Street, Suite 2207, Lockbox 35
                                                       Wilmington, DE 19801
                                                       (302) 573-6491
                                                       Juliet.M.Sarkessian@usdoj.gov




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                                     Certificate of Service

   I certify that on February 18, 2021, I served a true copy of this document either by electronic

   case filing and/or by email on the following parties and on those requesting ECF notice.


                                                    By:     /s/ Lisa L. Lambert
                                                            Lisa L. Lambert,
                                                            Assistant United States Trustee



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